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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIR E


United States of America

             V.                                            Case No . 06-cr-97-3-4-6-S M

Leslie B . Smith Allen R . Hal
                                 landTeriHogks

                                                   ORDER

      Defendant Terri Hodgkins has filed a motion to continue the final pretria l

conference and trial (document no . 92) . Trial has been rescheduled for the

April 2008 trial period . Defendants Hodgkin and Smith shall file a waivers of

speedy trial rights not later than February 4, 2008 . On the filing of such

waiver, her continuance shall be effective . No further continuances absent

extraordinary justification .

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S .C . § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances .

      Final Pretrial Conference :                   March 18, 2008 at 4 :00 p .m.

      Jury Selection : April 1, 2008 at 9 :30 a .m .
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     SO ORDERED .




                                         even J . IcAuliffe




January 25, 2008

cc : Paul Garrity, Esq .
       Stanley Norkunas, Esq.
       Paul Pappas, Esq .
       Jose A . Espinosa, Esq .
       Michael Sheehan, Esq .
       Clyde R.W .Garrigan, AUSA
       US Probatio n
     US Marshal




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